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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                    Case No. 2:08-cr-02-02

v.                                                    HON. R. ALLAN EDGAR

SUSAN RENE DODGE,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on March 10, 2008, after receiving the written consent of defendant and all counsel. At the

hearing, defendant SUSAN RENE DODGE entered a plea of guilty to the Felony Information,

charging defendant with Conspiracy to Distribute and Possess with Intent to Distribute Oxycodone

and Methadone in violation of 21:841(a)(1) and 841(b)(1)(C), in exchange for the undertakings made

by the government in the written plea agreement. On the basis of the record made at the hearing, I

find that defendant is fully capable and competent to enter an informed plea; that the plea is made

knowingly and with full understanding of each of the rights waived by defendant; that it is made

voluntarily and free from any force, threats, or promises, apart from the promises in the plea agree-

ment; that the defendant understands the nature of the charge and penalties provided by law; and that

the plea has a sufficient basis in fact.
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                I therefore recommend that defendant's plea of guilty to the Felony Information be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. It is further recommended that defendant

remain detained pending sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, determination of defendant's status pending sentencing, and imposition of

sentence are specifically reserved for the district judge. The clerk is directed to procure a transcript

of the plea hearing for review by the District Judge.



Date: March 10, 2008                                     /s/ Timothy P. Greeley
                                                        TIMOTHY P. GREELEY
                                                        United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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